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              IN THE UNITED STATES DISTRICT COURT FOR                 ':iflL!D1
                 THE SOUTHERN DISTRICT OF GEORGIA
                         SAVANNAH DIVISION
                                                                 OCT -1 ?i
UNITED STATES OF AMERICA
                                                         CLE.
V.                                   )      CASE NO. CR413-07J.

CHAD FITZGERALD MCCOY,

       Defendant.


                               ORDER

       Before the Court is Defendant Chad Fitzgerald McCoy's

Motion for Reconsideration. (Doc. 776.) In the motion,

Defendant     asks   the Court to reconsider its earlier order

(Doc. 774) denying his Motion Seeking Sentence Credit (Doc.

773) . After careful consideration, the Court finds no

reason to disturb its prior order. This Court is unable to

order the Bureau of Prisons ("BOP") to award Defendant the

credit he seeks. See United States v. Wilson, 503 U.S. 329

(1992) (holding that BOP determines credit issues, not

district courts); United States v. Pineyro, 112 F.3d 43, 45

(2d Cir. 1997) (recognizing federal courts lack authority

under § 3585 to order BOP to award credit); see also 18

U.S.C. § 3585(b) ("A defendant shall be given credit toward

the service of a term of imprisonment for any time he has

spent in official detention prior to the date the sentence

commences . . . that has not been credited against another
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sentence."    (emphasis added)). Accordingly,           Defendant's

motion (Doc. 776) is DENIED.

     SO ORDERED this    f-   day of October 2015.



                                  WILLIAM T. MOORE,   '(
                                                        97c
                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF GEORGIA




                                 2
